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PROB 12A
(05/21)                    UNITED STATES DISTRICT COURT
                                                          for
                                     Western District of Washington
                                        Report on Person Under Supervision
                                                          Goitom Robel Keleta 12A




Name: Robel Keleta Goitom                                                   Case Number: 2:17CR00132JCC-001
Name of Judicial Officer: The Honorable John C. Coughenour, United States District Judge
Date of Original Sentence: 07/17/2018                                                 Date of Report: 09/19/2023
Original Offense:        Count 1: Felon in Possession of a Firearm; Count 2: Bank Fraud
Original Sentence:       23 months’ custody; 3 years’ supervised release
Type of Supervision: Supervised release                               Date Supervision Commenced: 01/11/2019
Special Conditions Imposed:
 Substance Abuse                   Financial Disclosure              Restitution: $2, 851.74
 Mental Health                     Fine                              Community Service
 Other: Search; MRT; No new debt without approval; shall not obtain or possess driver license, or any other
form of identification in any other name other than defendants true legal name
                                        NONCOMPLIANCE SUMMARY

I allege Robel Keleta Goitom has violated conditions of supervision by:

 Violation
 Number       Nature of Noncompliance
     1.       Failing to provide a valid urine test, on or about July 6, 2023, in violation of a special condition of
              supervised release.
     2.       Consuming alcohol on or about August 15, 2023, in violation of a special condition of supervised
              release.

United States Probation Officer Action:

On July 6, 2023, Mr. Goitom reported to the Probation office and submitted a drug test that returned dilute.

On August 15, 2023, Mr. Goitom reported to the Everett office and provided drug test that was presumptively
positive for alcohol. The sample was sent to the national lab for confirmation and returned positive for alcohol. I
confronted Mr. Goitom about the results of his drug test. Initially, Mr. Goitom denied consuming alcohol but later
admitted to having a drink of wine while out to dinner with family. Mr. Goitom was verbally reprimanded for his
decision to consume alcohol. In addition, Mr. Goitom was placed on the highest frequency of testing and was
instructed to obtain a substance use disorder assessment. I therefore recommend the Court take no further action.

I consulted with Assistant United States Attorney Jessica Manca, and she concurs with my recommendation.

I respectfully recommend the Court endorse my actions.
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The Honorable John C. Coughenour, United States District Judge                                              Page 2
Report on Person Under Supervision                                                              September 19, 2023

I swear under penalty of perjury that the             APPROVED:
foregoing is true and correct.                        Monique D. Neal
                                                      Chief United States Probation and Pretrial Services Officer
Executed on this 19th day of September, 2023.         BY:


A                                                     A
Kenny James                                           Jennifer Van Flandern
United States Probation Officer                       Supervising United States Probation Officer
                         THE COURT FINDS PROBABLE CAUSE AND ORDERS:
   Judicial Officer endorses the United States Probation Officer’s actions
   Submit a Request for Modifying the Condition or Term of Supervision
   Submit a Request for Warrant or Summons
   Other



                                                                                Signature of Judicial Officer
                                                                                       9/20/23
                                                                                            Date
